
28 N.Y.2d 587 (1971)
In the Matter of The Estate of Florence M. De Lano, Deceased. Frederick G. Bascom et al., Respondents; LeRoy De Lano et al., Appellants.
Court of Appeals of the State of New York.
Argued January 19, 1971.
Decided February 17, 1971.
Francis H. Neverett for appellants.
Dominick J. Viscardi and R. Case Prime for respondents.
Concur: Chief Judge FULD and Judges SCILEPPI, BERGAN, BREITEL and JASEN. Taking no part: Judges BURKE and GIBSON.
Order affirmed, on the opinion at the Appellate Division, with costs to all parties appearing separately and filing separate briefs payable out of the estate.
